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                                           UNITED STATES DISTRICT COURT
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                                          NORTHERN DISTRICT OF CALIFORNIA
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                                              SAN FRANCISCO DIVISION
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              IN RE: ROUNDUP PRODUCTS                       MDL No. 3:16-md-02741-VC
        21    LIABILITY LITIGATION,
                                                            DEFENDANT MONSANTO
        22    This document relates to:                     COMPANY’S AMENDED ADMITTED
                                                            EXHIBITS DAUBERT HEARING RE
        23
              BRETT BECKFIELD v. MONSANTO                   KEVIN B. KNOPF, MD
        24    COMPANY
                                                            Date: September 6, 2024
        25    Member Case No.: 3:21-cv-05322-VC             Time: 1:00 p.m.
                                                            Place: Courtroom 4, 17th Floor
        26
                                                            Judge: Honorable Vince Chhabria
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174627982v2
              DEFENDANT’S ADMITTED EXHIBITS                                  MDL No. 3:16md-02741-VC
                    Case 3:16-md-02741-VC Document 19213 Filed 09/10/24 Page 2 of 3




         1      Exhibit
                Number     DESCRIPTION
         2
                   101     10/25/22 Deposition Transcript of Kevin B. Knopf (Beckfield)
         3
                   102     08/05/22 Deposition Transcript of Kevin B. Knopf (Salas)
         4
                   103     10/10/22 Deposition Transcript of Kevin B. Knopf (Griswold)
         5
                   125     08/22/22 Kevin B. Knopf M.D. M.P.H. Expert Report
         6

         7         153     EPA Consumer Factsheet on: ALACHLOR

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                                                      Respectfully submitted,
         9
              DATED: September 10, 2024               ARNOLD & PORTER KAYE SCHOLER LLP
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        11
                                                      By: /s/ Kathryn Podsiadlo
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                                                             KATHRYN PODSIADLO
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                                                             Attorneys for
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                                                             MONSANTO COMPANY
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              DEFENDANT’S AM. ADMITTED EXHIBITS                                 MDL No. 3:16md-02741-VC
                     Case 3:16-md-02741-VC Document 19213 Filed 09/10/24 Page 3 of 3




         1                                    CERTIFICATE OF SERVICE

         2          I hereby certify that all counsel of record who are deemed to have consented to electronic

         3    service are being served a copy of the foregoing DEFENDANT MONSANTO COMPANY’S

         4    AMENDED ADMITTED EXHIBITS DAUBERT HEARING RE KEVIN B. KNOPF, MD via

         5    the Court’s ECF system on September 10, 2024.

         6

         7    DATED: September 10, 2024                   ARNOLD & PORTER KAYE SCHOLER LLP

         8

         9                                                By: /s/ Kathryn Podsiadlo

        10                                                       KATHRYN PODSIADLO

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              DEFENDANT’S AM. ADMITTED EXHIBITS                                     MDL No. 3:16md-02741-VC
